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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE: ZOSTAVAX (ZOSTER VACCINE      :    MDL NO. 2848
 LIVE) PRODUCTS LIABILITY             :
 LITIGATION                           :    CIVIL ACTION NO. 18-md-2848
________________________________      :
                                      :
 THIS DOCUMENT RELATES TO:            :
                                      :
 JOHN MICHAEL BUSH and JOHNNY         :
 MITCHELL v. MERCK & CO., INC.,       :
 et al.                               :
 Civil Action No. 19-1117             :
                                      :
 RICHARD DOMAN and MAUREEN M.         :
 DOMAN v. MERCK & CO., INC.,          :
 et al.                               :
 Civil Action No. 18-20118            :
                                      :
 DAVID R. ELMEGREEN as Trustee of     :
 THE SUE A. ELMEGREEN TRUST v.        :
 MERCK & CO., INC., et al.            :
 Civil Action No. 17-2044             :
                                      :
 JOHN NIEDZIALOWSKI and KATHERINE     :
 NIEDZIALOWSKI v. MERCK & CO.,        :
 INC., et al.                         :
 Civil Action No. 19-20025            :
                                      :
 EMILY SANSONE v. MERCK & CO.,        :
 INC., et al.                         :
 Civil Action No. 18-20114            :
________________________________      :    _____________________________

                          PRETRIAL ORDER NO. 409

          AND NOW, this 1st day of December, 2021, for the

reasons stated in the foregoing Memorandum, it is hereby ORDERED

that the motion of defendants Merck & Co., and Merck Sharpe &

Dohme Corp. to exclude the specific causation opinions of

Mark Poznansky, M.D. in the above five actions is GRANTED.

                                            BY THE COURT:


                                            /s/ Harvey Bartle III
                                                                     J.
